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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                            CHIEF JUDGE MARCIA S. KRIEGER

  Courtroom Deputy:     Socorro West                            Date: April 23, 2018
  Court Reporter:       Terri Lindblom

  Civil Action No. 17-cv-01654-MSK-MJW

  Parties:                                                      Counsel Appearing:

  LINDSAY ALEXANDRIA SAUNDERS-VELEZ,                            Paula Greisen
                                                                Meredith Munro
                Plaintiff,

  v.

  COLORADO DEPARTMENT OF CORRECTIONS                            Christopher Alber
  (CDOC);
  TRAVIS TRANI, in his official capacity as Director or
  Prisons;
  MIKE ROMERO, in his official capacity as Colorado
  Territorial Correctional Facility Warden;
  RICK RAEMISCH, in his official capacity as Executive
  Director of Colorado Department of Corrections;
  RYAN LONG, in his official capacity as Denver Reception
  and Diagnostic Center Warden;
  KELLIE WASKO, in her official capacity as Deputy
  Executive Director of Colorado Department of Corrections;
  DENVER RECEPTION AND DIAGNOSTIC CENTER
  (DRDC); and
  THE COLORADO TERRITORIAL CORRECTIONAL
  FACILITY (CTCF),

                Defendants.



                                    COURTROOM MINUTES


  HEARING:      Law and Motion

  3:02 p.m.     Court in session.

  The Court addresses whether an evidentiary preliminary injunction hearing is needed.

  Argument.

  Oral findings are made of record and incorporated herein.
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  ORDER:        Amended Complaint to be filed. Medical records to be provided to Plaintiff’s
                counsel. Parties to file a motion requesting an evidentiary hearing, if necessary,
                after Parties have conferred.

  3:29          Court in recess.

  Total Time: 27 Minutes.
  Hearing concluded.
